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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION


UNITED STATES OF AMERICA

      v.                                CASE NO. 8:21-cr-270-KKM-TGW

HAO KUO CHI


              UNITED STATES’ SENTENCING MEMORANDUM

      The United States of America, by and through the undersigned Assistant

United States Attorney, hereby submits its sentencing memorandum. As further

explained below, and pursuant to 18 U.S.C. § 3553(a), the United States respectfully

submits that a guideline-sentence is appropriate in this case.

I.    Procedural History

      On August 11, 2021, the Government filed a four-count Information in the

Middle District of Florida, Tampa Division, charging the defendant, Hao Kuo Chi,

with conspiring to gain unauthorized access to a protected computer, in violation of

18 U.S.C. §§ 371, 1030(a)(2)(C) and (c)(2)(B)(ii), and three substantive counts of

unauthorized access to a protected computer, in violation of 18 U.S.C. §§

1030(a)(2)(C), (c)(2)(B)(ii), and 2. Doc. 1. On October 15, 2021, Chi pleaded guilty

to all counts of the Information pursuant to a written plea agreement. Docs. 4, 14.

The Court has scheduled sentencing to take place on June 15, 2022. Doc. 27.
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II.    Presentence Investigation Report

       On June 1, 2022, the U.S. Probation Office issued its final Presentence

Investigation Report (“PSR”). Doc. 29. It determined Chi’s applicable guideline-

range for the underlying offenses as 87-108 months’ imprisonment, based on an

adjusted total-offense level of 29 and a criminal history category of I. Id. at ¶ 74.

       The parties have no remaining factual objections to the PSR. The United

States has no remaining legal objections to the PSR. Chi maintains one legal

objection to paragraph 34 of the PSR, which, relying on USSG § 2B1.1(b)(1)(I),

increases his offense level by 16 levels. Specifically, Chi objects to the use of the $500

per access device directive in USSG §2B1.1, comment note 3(F)(i), to determine loss

in the §2B1.1(b)(1) guideline. For the reasons that follow, this Court should overrule

Chi’s objections and adopt the remainder of PSR’s facts and guideline-calculation.

       A.     Objection

       Section § 2B1.1(b) requires the Court to determine “loss.” And in this case, the

Sentencing Guidelines require the use of a formula that the Sentencing Commission

has established for access device-related offenses; USSG. § 2B1.1, Application Note

3(F)(i). Chi argues that the Court should disregard the Sentencing Commission’s

directive to use this formula, citing United States v. Riccardi, 989 F.3d 476 (6th Cir.

2021). In Riccardi, the defendant stole 1,322 gift cards with “total face values of

$47,000.” Id. at 486. The Sixth Circuit did not address the defendant’s intended loss

(or gain) when she stole the cards, but rather focused on the lack of “evidence

suggesting that the total ‘damage’ from this theft approached the $752,500.” Id. The
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Sixth Circuit concluded that the access device formula constituted a substantive rule

which had not been properly adopted as such. Id. at 483. In order to reach that result,

the Riccardi court disregarded decades of precedent that made clear that loss

estimates and formulae, such as that adopted in Application Note 3(F)(i) of § 2B1.1,

are appropriate tools for estimating loss.

      Because of the unique difficulty in determining loss in the context of access

device theft and fraud cases, an efficient way to ensure uniformity in the application

of § 2B1.1 is to adopt a framework for making the required loss estimate; which is

precisely what the Sentencing Commission has done. The actual or intended loss is

unusually difficult to identify in access device cases for a number of reasons: the

offenses frequently involve the theft of large volumes of access devices; the offenses

typically do not involve an explicit demand for a particular amount of money; and

the offenses typically involve an intent to steal as much money as possible, without

knowing the available amount.

      The Sentencing Guidelines have recognized these challenges since the

beginning. The original guidelines directed courts to apply a minimum $100 loss for

stolen credit cards. See USSG 2B1.1 (1987), Application Note 4 (“The loss includes

any unauthorized charges made with stolen credit cards, but in no event less than

$100 per card.”). For most cases, the amount was increased from $100 to $500 after

the Sentencing Commission conducted further research—which was required by

Section 4 of the Identity Theft and Assumption Deterrence Act of 1998, Pub. L. 105–

318(b)(1)—that directed it to ensure that the Sentencing Guidelines provided
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appropriate penalties for identity theft crimes (e.g., identity theft crimes involving

credit cards). The Sentencing Commission’s research at that time indicated that, with

the exception of certain telecommunications access devices, the $100 loss estimate

was insufficient. See USSG, Appendix C, Amendment 596 (2000).

       After more than a decade of decisions in dozens of cases in the Eleventh

Circuit, it is settled that the term “loss,” as used in the Sentencing Guidelines,

includes actual loss, intended loss, and estimated loss. See e.g., United States v. Maitre,

898 F.3d 1151 (11th Cir. 2018); United States v. Nelson, 724 Fed. Appx. 814, 819 (11th

Cir. 2018) (unpublished); United States v. Wright, 862 F.3d at 1275 (11th Cir. 2017);

United States v. Torres-Bonilla, 556 Fed. Appx. 875, 882 (11th Cir. 2014)

(unpublished); United States v. Acevedo, 860 Fed. Appx. 604, 612 (11th Cir. 2021)

(unpublished). When the Sentencing Commission adopted its commentary in 2001,

including Application Note 3(F)(i), it was not only permitted, but was in fact

required, to interpret the term “loss.” And as the law stands, that term in the

sentencing context plainly embraces intended, actual, and estimated loss.

Accordingly, Application Note 3(F)(i) is a permissible, appropriate, and reasonable

interpretation of § 2B.1.

III.   Argument in Support of a Guideline Sentence

       The Supreme Court has declared, “[a]s a matter of administration and to

secure nationwide consistency, the Guidelines should be the starting point and the

initial benchmark.” Gall v. United States, 552 U.S. 38, 41 (2007). Although this Court

may not presume that a guideline-range sentence is reasonable, the Sentencing
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Guidelines remain a significant and pivotal component of the sentencing process.

United States v. Delva, 922 F.3d 1228, 1257 (11th Cir. 2019); United States v. Hunt, 526

F.3d 739, 746 (11th Cir. 2008) (“[W]hile we do not presume that a sentence falling

within the guidelines range is reasonable, we ordinarily expect it to be so.”). This

Court, therefore, “must first calculate the Guidelines range, and then consider what

sentence is appropriate for the individual defendant in light of the statutory

sentencing factors, 18 U.S.C. § 3553(a), explaining any variance from the former

with reference to the latter.” Nelson v. United States, 129 S. Ct. 890, 891–92 (2009).

      Section 3553(a)(1) provides that, in determining a sentence, courts must

consider the nature and circumstances of the offense, as well as the history and

characteristics of the defendant. Additional factors outlined in section 3553(a)(2)

include the need for the sentence to reflect the seriousness of the offense, to promote

respect for the law, to provide just punishment for the offense, to afford adequate

deterrence to criminal conduct, to protect the public from further crimes of the

defendant, and to provide the defendant with needed education or vocational

training, medical care, or other corrective treatment in the most effective manner.

Chi’s conduct, considered in conjunction with the sentencing factors set forth in 18

U.S.C. § 3553(a), calls for a guideline-sentence.

      A.     Nature and Circumstances of Offense

      Revenge porn refers to explicit and intimate images of others shared without

consent and with the intent to intimidate, harass, or embarrass. For years, a website

named Anon-IB served as ground zero for such conduct. The website organized the
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images by location (e.g., country or state) and subject (e.g., university or military

branch), which users could upload, download, trade, and comment on. A substantial

portion of the users swapped nude photographs and videos of young women on the

website, which they referred to as “wins.” On or about April 25, 2018, the Dutch

National Police shut down Anon-IB and seized its servers. From the servers, law

enforcement confiscated images depicting hundreds of nude women, including

teenagers. According to the Dutch police, some of the images were shared by ex-

boyfriends and husbands, while others were obtained by breaking into the victims’

email, social media, and cloud storage accounts.

      For years, Chi hacked into the Apple iCloud accounts of victims across the

country—primarily young women—in search of “wins.” Doc. 29, ¶¶ 12-14. Using

the moniker “icloudripper4you,” he then shared and traded these images with

persons he had met on Anon-IB. Id. Chi’s email accounts contained the email

addresses and passwords (i.e., the credentials necessary to hack an iCloud account)

of approximately 4,700 victims. Id. at ¶ 22. His email accounts also revealed that he

had sent content stolen from victims to conspirators on more than 300 occasions. Id.

Perhaps even more troubling, Chi did not receive any monetary compensation

whatsoever for engaging in this violative course of conduct. Id. at ¶ 23.

      Unsurprisingly, some of the images stolen by Chi found their way into public

sphere. Id. at ¶ 23. For example, private images of K.N. in the nude and performing

sex acts wound up on multiple websites. Id. at ¶ 20. These images, originally stolen

by Chi, were (and still are) accessible to anyone with an internet connection. K.N.
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explained that this experience irrevocably changed her life; affecting her physical

health, her perception of her personal safety, and causing the loss of her job. Id. at ¶

27; see also K.N.’s victim impact statement. But Chi not only shared his “wins,” he

also kept many of those images for his own personal collection. Chi maintained

approximately 3.5 terabytes of victim data on cloud and physical storage, containing

content attributable to more than 500 unique victims. Id. at ¶ 23. It is probable that

unlike K.N., many of these victims are unaware that their explicit and intimate

images are in the hands of strangers.

      B.     History and Characteristics of Defendant

      The PSR does not reveal anything remarkable about Chi’s childhood or life

that could explain his offense conduct. He was raised in a two-parent home. Doc. 29,

¶¶ 58-59. He is a high school graduate who has taken some college courses. Id. at ¶

69. He has been employed by the same company for 15 years, and married for more

than a decade. Id. at ¶ 62, 71. Chi reported suffering from anxiety and depression

from a young age, but has no history of substance abuse. Id. at ¶¶ 67-68. By all

appearances, Chi is a successful and well-adjusted adult. In other words, Chi’s

history and characteristics weigh in favor of guideline-sentence, and does not support

a downward departure or variance.

      In March 2007, law enforcement charged Chi with “Invade Privacy with

Concealed Camcorder/Etc,” “Annoy/Etc. Child-18,” and “Disorderly Conduct.” 1


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  The United States has been unable to locate any additional information regarding
this case.
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Id. at ¶ 50. Those charges stemmed from Chi’s alleged surreptitious recording of a

22-year-old woman showering; which was done on service call while he was

employed for Best Buy’s “Geek Squad.” This prior arrest. taken in conjunction with

the instant offense conduct establishes a pattern of victimizing unsuspecting young

women, and further weighs in favor of guideline-sentence and against a downward

departure or variance.

      C.     Seriousness of the Offense and Respect for the Law

      This is a serious crime, and a comparable sentence is necessary to promote

respect for the law. Revenge porn and online platforms that facilitate the sharing of

such content, like Anon-IB, are unfortunately becoming more commonplace. Chi’s

involvement in the offense conduct was prolonged (lasting more than two years),

widespread (affecting hundreds of women all over the United States), and had no

apparent purpose other than to satisfy the sexual appetites of himself and others.

Chi’s actions displayed a gross indifference toward the many women he victimized,

and it’s ramifications, much of which is still known, deeply affected the victims’

personal and professional lives. This Court’s sentence must express an appropriate

level of condemnation of his crimes, and a guideline-sentence would do just that.




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IV.   Conclusion

      This Court should sentence Chi to a guideline-sentence of 87-108 months’

imprisonment. This sentence is reasonable because it reflects the seriousness of Chi’s

crimes and promotes respect for the law.

                                        Respectfully submitted,

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                                        United States Attorney

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                             CERTIFICATE OF SERVICE

       I hereby certify that on June 7, 2022, I electronically filed the foregoing with

 the Clerk of the Court by using the CM/ECF system which will send a notice of

 electronic filing to counsel of record.

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